 

AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Wisconsin

In the Matter of the Search of:

a cellular phone used by Radomir Buzdum and
associated with telephone number (920) 248-3360

lie/line

 

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APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that l have reason to believe that on the following person or property:

a cellular phone used by Radomir Buzdum and associated With telephone number (920) 248-3360

located in the Eastern District of Wisconsin, there is now concealed:

See Attachrnent B.

The basis for the search under Fed. R. Crim P. 4l(c) is:
|Xl evidence of a crime;
|:l contraband, fruits of crime, or other items illegally possessed;
|:l property designed for use, intended for use, or used in committing a crime;
l:l a person to be arrested or a person who is unlawfully restrained

The search is related `to violations of: Title 18, United States Code, Sections 1591 (seX trafficking), 1594 (conspiracy to engage in
sex trafficking), 1952 (use of facility in interstate commerce to carry on or distribute the proceeds of prostitution activity unlawful
under state law), and 1956 (money laundering) and 922(g)(3) (possession of firearms by an unlawful drug user); as well as Title
26, United States Code, Sections 7201 (tax evasion), 7202 (Willful failure to account for or pay tax), 7206(1) (taX fraud and false
statements), and 7206(2) (assisting preparation of false or fraudulent tax documents).

The application is based on these facts: See attached affidavit

l:l Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of Which is set forth on the attached sheet.

/ M /
. %61£ ’s signature
Neal LofV, I. ask Force Officer
_. Prl'ntedName and itle

 

Sworn vi before me and signed in my presence:

C/\/\A~ Zz_`, 26\0&

 

Date:

 

 

Judge ’s signat

City d State: Milwaukee, Wisconsin David E. J ones , U.S. Magi rate JudQe
Printed Name nd Tit[e

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AFFIDAVIT IN SUPPORT OF SEARCH WARRANTS

l, Neal Lofy, being first duly sworn, hereby depose and state as follows:
I. AGENT BACKGROUND AND EXPERIENCE

l. I am a Detective with the Racine Police Department, a position l have held for the
past six years, and l have been employed by the Racine Police Department since 2006. Since
2013, l have been assigned to the Special investigations Unit as the lead investigator on the Greater
Racine Human Trafficking Task Force.

2. On October 5, 2015, l was deputized as a Task Force \Officer With the Federal`
Bureau of Investigation (FBI). l am assigned to the Milwaukee Division’s Child Exploitation Task
Force, which investigates violations of federal law including, but not limited to, the coercion and
enticement of a minor to engage in sexual contact, and the sexual exploitation and sexual abuse of
minors. l am also assigned to the FBl’s Wisconsin Human Trafficking Task Force, which
investigates the illegal trafficking of persons, both domestic and foreign, for the purposes of labor
and commercial sex acts.

3. The facts in this affidavit come from my personal observations, my training and
experience, information obtained from citizen witnesses, and information reported to me by other
law enforcement officers during the course of their official duties, all of Whom l believe to be
truthful and reliable.

4. Throughout this affidavit, “case agents” refers to the federal, state, and local law
enforcement officers who have participated directly in this investigation, and with whom l have
had regular contact regarding this investigation The case agents in this investigation have
included law enforcement officers from the FBI, Dodge County Sheriff s Office (DCSO), lnternal

Revenue Service ~ Criminal Investigation, Department of Labor ~ Office of Inspector General,

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Hartford Police Department (HPD), Wisconsin Department of Justice, Division of Criminal
lnvestigation, and the Federal Deposit lnsurance Corporation - Office of Inspector General.
5 . This affidavit is intended to show merely that there is sufficient probable cause for
the requested warrants and does not set forth all of my knowledge about this matter.
II. PURPOSE OF AFFIDAVIT
6. l make this affidavit in support of applications for the following search warrants:
a. A warrant to search the premises known as the Wild Rose Gentleman’s Club
(formerly TNT Gentleman’s Club), N866 County Road R, Lebanon,
Wisconsin, more particularly described in Attachment A to that application;
b. A warrant to search the premises known as the DeW Drop Inn, 1027 N. 4th
Street, Watertown, Wisconsin, more particularly described in Attachment
A to that application;
c. A warrant to search a black iPhone Model A1660, FCCID:

BCGESOSSAIC579C-E3085A, more particularly described in Attachment A
to that application; and `

d. A warrant to seize and search a cellular phone used by Radomir Buzdum
and associated with telephone number (920) 248-3360.

7. Based on the facts set forth in this affidavit, there is probable cause to believe that,
on the premises described in Paragraph 6, there exists evidence of violations of Title 18, United
States Code, Sections 1591 (sex trafficking), 1594 (conspiracy to engage in sex trafficking), 1952
(use of facility in interstate commerce to carry on or distribute the proceeds of prostitution activity
unlawful under state law), 1956 (money laundering), and 922(g)(3) (possession of firearms by an
unlawful drug user); as well as Title 26, United States Code, Sections 7201 (tax evasion), 7202
(willful failure to account for or pay taxj, 7206(1) (tax fraud and false statements), and 7206§2)
(assisting preparation of false or fraudulent tax documents) as described in Attachrnent B to each

l application

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III. PROBABLE CAUSE
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8. Case agents have been investigating Christopher Childs, Jennifer Campbell, and
. others for using force, fraud,' and coercion to cause victims to engage in commercial sex acts.
Childs currently is charged in Case No. 18-CR-69 (PP) With five counts of sex trafficking of adult
victims by force, fraud, and coercion and one count of sex trafficking of a minor. Childs and
Campbell (Who served as Childs’ “bottom” prostitute) also are charged with one count of
conspiracy to engage in sex trafficking

9. The investigation to date has revealed that many of Childs’ sex trafficking activities
took place in strip clubs located in Dodge County, Wisconsin, including What is now called the
Wild Rose Gentleman’s Club, formerly TNT, N866 County Road R, Lebanon, Wisconsin.
Because this club was called TNT throughout the majority of the time relevant to this investigation,
it will be referred to hereinafter as TNT. 4

~ 10. The investigation to date has revealed that the managers and employees of TNT
knew of, facilitated, and profited from sex trafficking offenses undertaken by Childs and other
pimps at the club. The investigation to date has also revealed that TNT has been underreporting
its income, in turn causing Buzdum to underreport his income, and paying its employees partially
or totally in cash. v
B. Background on TN'I`

11. Based on information from witnesses and records reviewed by case agents, 1 am
aware that TNT is owned by Radomir Buzdum (“Buzdum”). Since 2001, Buzdum has been the
registered agent of Tequila Nights, Inc., which encompasses two businesses, TNT and the Dew

Drop Inn, a tavern located at 1027 N. Fourth _Street in Watertown.

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12. Initially, Buzdum operated TNT at 942 Main Street, in Clyman, Wisconsin.
However, in approximately 2007, Buzdum sold the Clyman property to Don Raffaelli and Michael
Siegel, who began operating a strip club at that location known as the Hardware Store.

13. Buzdum purchased the building that houses TNT in April 2002. Initially, Buzdum
and his wife (Dawn) and/or various lessees operated a supper club at the site. ln 2008, one of
Buzdum’s lessees, with Buzdmn’s assistance, turned the supper club into a strip club called the
Roadhouse. ln approximately 2011 or 2012, after the lessee defaulted on the contract, Buzdum
took back control of the property and continued to operate it as a strip club that he soon renamed
TNT. Buzdum promoted former Roadhouse bouncer Timothy Miller (“Miller”) to be the club’s
manager. Miller managed TNT until late August 2017, when he was terminated At that time,
Buzdum hired former TNT bouncer Jacob l\/Iaroo to be TNT’s new manager.

14. ln July 2018, after TNT received negative publicity following the March 29, 2018
arrest of Chris Childs for sex trafficking, Buzdum renamed TNT as The Wild Rose Gentleman’s
Club.

C. Information Provided by Victim 1

l5. On l\/lay 16, 2017, Victim 1, an adult female, reported to HPD and DCSO that
Childs was forcing her to be involved in commercial sexual activity. A short time later, Victim 1
made a statement about this conduct to me. Victim 1 reported that between October 31, 2015 , and
May 15, 2017, Childs regularly forced or coerced her to perform prostitution dates, most often in
the “champagne rooms” at TNT and the Hardware Store, another strip club in the area. Victim 1
reported that Childs demanded that she give him all proceeds earned from prostitution dates and

dancing at the strip clubs.

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16. Victim 1 described Childs’ rules when working at the strip clubs and performing
prostitution dates. Victim l also described additional rules imposed by Childs that governed nearly
every aspect of Victim l’s life. Victim 1 described physical punishments that Childs inflicted or
threatened for violating these rules, including beating her, making her sleep on the bathroom floor,
choking her during oral sex until she vomited, and forcing her to insert painful objects into her
vagina, such as a hot curling iron. v l

17. Victim 1 explained that at the end of every night, Childs required her to bring him
all of the money that she had made. lnitially, Victim l had to drop the money off at Childs’
residence every night on the way home from TNT or the Hardware Store. Miller or one of the
bartenders would provide payment to Victim l in a sealed envelope. Later, Childs installed a safe
in Victim 1’s home, and Victim l was to lock the envelope inside the safe. If there were any
discrepancies as to how much money should be inside the envelope, Childs would call the club
b managers to verify how many times Victim l, and other women working for Childs, had entered
the champagne room. Law enforcement later verified and documented the existence of this safe.

18. Victim 1 stated that the owner (Buzdum), manager (Miller), and other staff of TNT
Were aware that Victim 1 and others were working for a pimp. According to Victim l, the owners
and managers of both TNT and the Hardware Store preferred to hire dancers who had pimps
because they would work any shifts required of them, show up on time, and bring in additional
high-spending clientele who wanted to buy sex in the champagne rooms. Dancers with pimps
generally had a greater motivation to earn as much money as they could because of their pimps’
demands, and the clubs profited from this arrangement because they took a cut from each

champagne room service. The club owners and managers also knew that they could call Childs if

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they had any problems with the women working for him and that Childs would deal with them7
right away. ~

19. Victim 1 stated that she worked at TNT from approximately late October 2015
through February 2016. Childs introduced Victim l to Miller, and, after providing her ID and
phone number, Victim 1 was hired as a dancer.

20. At first, Victim 1 only danced at TNT and did not perform any “extras” or sex acts
at the club. She quickly learned, however, from Childs and other dancers that the best money was
earned by engaging in oral sex or intercourse in the champagne rooms. Childs told Victim l that
she needed to start earning money this way and had Campbell teach her how.

21. Victim 1 learned that TNT charged a $150 fee for the use of a champagne room
and that this money was split between the dancer and the club. Extras were typically negotiated
and paid for in cash inside the champagne room, however if a credit card was used to pay the
champagne room fee, the price of the extras could be added on as a tip. These tips would be
converted to cash and given to the dancers along with their cuts of champagne room and lap dance
fees in an envelope at the end of each night

22. The champagne room fee entitled a customer to use the room with his/her dancer
of choice for half an hour. When time was up, a bouncer would let them know by knocking on the
door of the room. y

23. Dancers could solicit customers independently, however “dates” were sometimes
arranged by TNT’s bouncers. Dancers would tip` the bouncers for these referrals f

24. Victim l was aware of other pimps who brought in women to dance and perform
sex acts at TNT. These included Childs’ son, Chris Jr., land Kendrick Hayden, a/k/a “Ball.”

According to Victim 1, Hayden was known as a “gorilla pimp,” or a pimp who primarily uses

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violence to control his victims.r Victim l recalled that Hayde_n sometimes openly beat his victims
at TNT.

25. Victim l stated that there were cameras in the champagne rooms but they were
fake, meaning nonoperational.

D. Information Provided by Victim 2
l 26. On March 30, 2018 and April 10, 2018, case agents interviewed Victim 2. She

corroborated the information provided by Victim l regarding how Childs treated his victims and
Childs’ rules. Victim 2 described how Childs controlled what she ate, what she could drink, and
even when she could use the bathroom. Victim 2 also described how starting in September 2015,
Childs had forced her to perform commercial sex acts, including at TNT. Victim 2 provided details
of instances in which Childs beat and/or urinated on her for violating his rules. Victim 2 also
described how Childs directed her to learn from Jennifer Campbell. Campbell would teach Victim
2 how to negotiate prostitution dates, how much to charge, and what to do in the champagne rooms.
Campbell would also report back to Childs as to whether Victim 2 was following his rules.

27. Victim 2 had recently started dancing at the Hardware Store when she met Childs.
Childs directed her to begin dancing at TNT and forced and coerced her to engage in commercial
sex acts there.

28. Among Childs’ rules was never to engage in commercial sex acts with black men.
The first time Childs was violent with Victim 2 was due to a violation of that rule that occurred at
TNT. Victim 2 and another dancer, who went by “Chastity,” went into a champagne room with a
black male. Chastity became uncomfortable and left, however Victim 2 gave the male oral sex in
exchange for $60. lust as Victim 2 and the male were exiting the champagne room, Childs came

into TNT with Victim l to introduce Victim l to Miller. Childs was extremely angry and accused

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Victim 2 of violating his rules and having sex for free. Once they were home that night, Childs
beat Victim 2, slapping her so hard that a gauge fell out of one of her ears and slamming her head
into the kitchen cabinets.

29. Victim 2 stated that the staff of TNT were aware that prostitution was taking place
inside TNT. She recalled that whenever Miller had any issues with the dancers who worked ford
Childs, Miller would contact Childs directly to resolve them. She also remembered that Ryan
Jorns, one of the bouncers at TNT, was a regular client of Victim 1.

E. Information Provided by Victim 3

30. ln August 2018, case agents spoke with Victim 3. Victim 3 reported that Childs
had served as her pimp for an extended period. Victim 3 described Childs’ rules and his acts of
physical violence toward her. Victim 3 described twice going to the police for help, and 1 have
reviewed l\/IPD reports regarding complaints Victim 3 made against Childs. Victim 3 also
described having to go to the hospital after being beaten by Childs.

31. Victim 3 only worked for Childs at TNT for a short period of time when it first
opened in 2010. Victim 3 described TNT as more discreet than the Hardware Store at that time
and less willing to allow overt pimp violence inside the club. She did state, however, that a number
of pimps frequented TNT and had females working for them there, including pimps who went by
“Black” and “Star.”

F. Information Provided by Victim 4

32. On May 14, 2018, case agents interviewed Victim 4. Like Victim 3, Victim 4 was
trafficked by, Childs for several years, in her case from roughly 2004 through 2009. During this
time, and for some time `afterwards, Victim 4 danced at TNT. Childs first met Victim 4 at a strip

club in Ripon, Wisconsin. Shortly thereafter, Victim 4 found herself stranded in Minnesota

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without a ride back to Wisconsin. She contacted Childs, and he agreed to buy her a bus ticket so
long as she would start living with him when she returned When Childs came to retrieve her from
the bus station, he revealed that he was a pimp and that Victim 4 would have to live with him and
his “bottom” or longest-running victim and make money for him by dancing and performing
commercial sex acts at strip clubs.

33. Childs used force, threats, and intimidation to induce Victim 4 to dance and engage
in commercial sex while following his rules. In many instances, Childs did not have to resort to
physical violence with Victim 4; she was sufficiently frightened of him because he told her
numerous stories of his abuse of past victims, and because she witnessed him beat and abuse
Victim 3, that she usually did not challenge Childs or disobey him. On at least one occasion,
however, Childs repeatedly slapped Victim 4, causing bruising, because he believed she had had
sex with someone for free. Victim 4 made a police report about the incident, butChilds prevented
Victim 4 from going to court to follow through with the prosecution of that incident

34. The strip clubs where Childs instructed Victim 4 to work were scattered around the
state of Wisconsin. Childs had personal connections at most of these clubs. Gne such club was
TNT. According to Victim 4, T~NT and the other clubs where Childs took her preferred to hire
dancers who had pimps. The pimps, including Childs, would make efforts to establish
relationships with the owners to make sure that their victims would always have work, keeping a
steady stream of dancers in the clubs. Victim 4 recalled that other pimps beyond Childs also
worked girls at TNT.

35. Beyond just turning a blind eye? Victim 4 indicated that TNT specifically allowed
prostitution dates to take place inside the club. When Victim 4 first started dancing at TNT,

customers would negotiate private rooms and sex acts directly with dancers and pay the dancers

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both the room fees and the price of the so-called “extras.” The dancer was then responsible for
giving TNT its cut of the room fees Later on, Tim Miller felt that dancers were lying about the
numberof champagne rooms they did and keeping the club’ s cut, so he created the system wherein
the bartenders accepted the room fees at the register, and dancers were paid out at the end of the
night in envelopes
G. Information Provided by Victim 5

36 . 1 interviewed Victim 5 in May 2018. Other case agents also interviewed Victim 5 1
in March 2018 and July 2018. Childs recruited and retained Victim 5, by means of fraud and
coercion, to perform commercial sex acts for him at TNT. 4

37. Victim 5 first began dancing at TNT in mid?2014 after she met Justin Gillis,
Buzdum’s stepson, at a party. At the time, she was unemployed and in need of money. Gillis
suggested that Victim 5 try dancing at TNT and said he could get her a job there. Victim 5 agreed

3 8. Gillis drove Victim 5 to TNT to get her signed up to dance. On the way there, Gillis
told Victim 5 that she would likely meet a black male named Chris Childs at the club because he
frequently hung out there. Gillis warned Victim 5 not to have anything to do with Childs because
he was a pimp and a manipulator. Victim 5 listened to what Gillis had to say, but she did not think
much of it at the time because she did not understand what a pimp was and did not feel that she
could be easily manipulated

39. Approximately two weeks after Victim 5 started dancing at TNT, Childs
approached her one night after she got off the stage. Childs told Victim 5 that she was beautiful
and began talking to her about her potential and how much money she could make if she would

team up with him. He promised to help her triple her earnings'and said he would buy her a car.

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40. Childs then told Tim Miller to open a private room for him and Victim 5. Victim
' 5 felt that this was more of an order than a request to Miller and saw that Miller complied right
away. Based on this, she felt that Childs must have a fair amount of authority at TNT. Once inside
the room, Childs told Victim 5 to get completely naked so that he could ‘°see what he was working v
with.” Victim 5 felt uncomfortable but did as Childs said because she was nervous about what he
might do if she refused Childs told Victim 5 to come and sit next to him. He told her that they l
were going to be the next “Coco and lce-T,” referring to a famous rapper/actor and his wife, who
transitioned from stripping and pornography after Irce'-T “discovered” her.

41. From that point on, Childs had Jenriifer Campbell mentor Victim 5 at TNT.
Campbell would introduce Victim 5 to her regulars at TNT at arrange prostitution dates between
them. Campbell would report to Childs throughout the night about how Victim 5 was performing

42. One such date occurred in a champagne room at TNT. A customer requested that
Campbell perform a sexual service for him in the champagne room, and Campbell suggested that
he choose Victim 5 instead The customer took Victim 5 into the champagne room and said he
wanted to perform oral sex on her. Victim 5 was hesitant but felt she had no choice. She let the
customer be gin, but then quickly told him she was uncomfortable and wanted to stop. The
customer then asked to have intercourse with Victim 5, but \fictim 5 said no. The customer gave
her $150. When Victim 5 delivered the money to Childs, he was extremely happy with her and
told her he would get rid of Campbell so that Victim 5 could be his “main bitch.”

43. Another incident took place outside of the club with a couple who frequented TNT.
The couple invited Victim 5 and Campbell to come to the house after their shift, and Campbell
told Victim 5 they needed to go. Victim 5 did not understand initially that the purpose of the visit

was for prostitution Once at the house, everyone undressed and went into the hot tub naked

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together. Afterwards, they went upstairs to the couple’s bedroom where Campbell asked Victim
5 to join in a foursome. Victim 5 told them she did not want to have sex because she was on her
period as an excuse to get out of it. Victim 5 tried to lie on the edge of the bed, but the other three
still groped and kissed her. At the end, she and Campbell were each given $300. All of the money
went to Childs

44. Victim 5 stated that everyone who worked at TNT knew that Childs was a pimp
and treated him with respect because of his status there. Victim 5 also said that TNT’s owner was
well aware that prostitution was taking place in the champagne rooms at TNT.

45 . 4 Victim 5 and Campbell were treated differently than the other dancers at TNT
because they worked for Childs. When they arrived at the club to worker,4 bouncers would come
to carry their bags and valet their car. They did not have to pay the house fee or tip out the bouncers
and bartenders at the end of the night like theother dancers did. `They were given free drinks while
they worked, even though Victim 5 was only 19 and Miller had made a copy of her driver’s license.

46. According to Victim 5, Childs and Miller were very close and talked regularly
Miller contacted Childs directly about his girls’ scheduling, and Childs always made sure that
Campbell and Victim 5 were scheduled to work to gether.

47. Seeing how Childs was treated at TNT made Victim 5 feel that Childs was very
powerful. She also feared him because he would warn her that she did not want to see his “dark
side.” Childs made Victim 5 contact him before and after each champagne room service she did
so that he could approve the price she had negotiated He only allowed Victim 5 to have money
to get her hair and nails done so that she could continue to bring more money in for him. Childs

controlled the personal details of Victim 5 ’s life, such as whether she shaved her pubic hair or

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what phone she used. He made her choose between having a baby with him or being branded with

his name and the word “loyalty” on the back of her neck Victim 5 chose the tattoo.

48. On one occasion, Childs coerced Victim 5 into attempting to insert a full can of
soda into her vagina. Victim 5 was completely humiliated Thereafter, she felt that she no longer
controlled her own life; Childs did Victim 5 was only able to leave Childs after a court~ordered
residential program issued an internal no-contact order between her and Childs

H. Facebook Conversations

49. 1nformation obtained through the execution of search warrants for Facebook
records for Childs, Campbell, Victim l, Victim 2, and Victim 3 corroborated the victim statements
described above. For example, Childs received and sent photos and memes related to being a
pimp, engaged in conversations in which he confirmed that he takes all of the money earned by
his victims, discussed his rules, and sought to recruit women 1n March 2014, Childs told a woman
in a private Facebook conversation that he had been a pimp for more than 18 years

50. The Facebook materials included communications between Childs and Victim 1
. and Victim 2. Two examples illustrate the content of the Facebook materials:

a. 1n a conversation on August 6, 2016, Childs directed Victim l to torture
herself as “punishmen .” Childs told Victim 1 that she must sleep with a
bottle inserted into her rectum for 3 weeks and that she had a week to force
her fist into her vagina When Victim l told Childs that trying to stick the
bottle into her rectum “hurts so bad,” Childs responded, “1 want it to hurt.”

b. 1n a conversation on November 13, 2015, Victim 2 stated that she wanted
to return Childs’ phone and “be done” working for him. Childs told her,
“You’re not done” and “Don’t make me come find you.” Childs stated he
would never let her leave, noting that he put too much “work and effort into
you to let you just walk away.” Childs stated that Victim 2 could not
become a “lost investment” and added, “l’m not gonna let you fuck up my j
plans.” When Victim 2 countered that there was nothing Childs could do,

Childs replied, “There’s a lot 1 can do and if you’d like me to show you 1
will.»’7 Childs further warned Victim 2 not to “underestimate” him. Childs

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then asked if Victim 2 wanted to leave because Victim l had begun working
for him. Victim 2 begged Childs to “replace” her with Victim 1 and let her
leave “peacefully.” Childs stated that he was “getting real .pissed off” and
told Victim 2, “You are my property.”

I, Information Provided by S.B.

51. 1n April 2018, 1 interviewed S.B., who had been identified as a long-time
prostitution customer of Jennifer Campbell. S.B. indicated that he had met Campbell at the
Hardware Store and had been paying her for sex for approximately 4 years S.B. explained that
he would purchase champagne rooms at the TNT and the Hardware Store so he could have sex
with Campbell. S.B. would pay the club approximately $175 for 30 minutes or $25 0 for an hour
to use the rooms S.B. indicated that there was an additional $10 fee for using a credit card

52. ln addition to paying for sex with Campbell, S.B. purchased the residence in which
Campbell and Childs resided and purchased a Cadillac for Campbell. Case agents have verified
that S.B. is listed as the owner of the residence that had been shared by Childs and Campbell.

J. Information Provided by CW-l

53. g 1n October 2017 and August 2018, case agents interviewed CW-l. CW-l had
worked at TNT and its predecessor club, the Roadhouse, from approximately 2009 through 2017.
1n August 2017, Buzdum terminated CW-l and Miller.

54. CW-l had dropped out of high school at age 16 in order to watch some of the club’s
dancers’ children while their mothers worked CW-l was also paid to clean the club in the morning
before it opened

5 5. When Buzdum converted the Roadhouse into TNT, he took out a number of small

booths that had curtains and replaced them with the larger champagne rooms, which had real doors

According to CW~l, this was so that dancers could more easily and discreetly perform commercial

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sex acts in the champagne rooms, thus bringing in more business for the club. At that time,-
j Buzdum also had Paul Dorsey, his brother-in-law, install cameras throughout the club, including
in the dancers’ locker room. The only areas of the club that did not have cameras were the

bathrooms and the champagne rooms

56. Even without being in the club during operating hours, CW-l understood that
prostitution was taking place inside the champagne rooms, because she would find condom
wrappers, as well as used condoms, wet wipes, and tissues on the floors of these rooms when she
would clean From time to time, CW~l would call an all-staff meeting before the club opened and
exhort the dancers to clean up after themselves

57. CW-l said that although no one spoke openly about the sex acts occurring in the
champagne rooms, everyone who worked at or patronized TNT knew what was going on CW-l _
stated that Buzdum knew because he personally paid the club’s dancers to engage in sex acts with
him. CW-l gave examples of several dancers whom she knew Buzdum regularly paidfor sex,
including lennifer Campbell. According to CW-l, Buzdum routinely came into TNT intoxicated
and continued to drink while there. Buzdum would have Miller set up dancers for him to have sex
with and instruct Miller to have the bartenders pay the dancers from the club’s till.

58. CW-l’s understanding was that Buzdum’s wife, Dawn Buzdum (“Dawn”), had
filed for divorce from him in 2015 after nearly catching him having sex with a dancer at TNT.
After that occurrence, Buzdum would contact Miller and ask him to bring dancers form TNT to
his apartment above the Dew Drop Inn for a couple of hours at a time. Buzdum also instructed

CW-l to buy a cell phone for club use. CW-l and Miller were to use this phone to underreport

TNT’s nightly totals to Dawn. These artificially low totals were based solely on the TNT’s credit

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card earnings rather than its total sales Buzdum did not want Dawn knowing about the cash sales,
and he did not report any of the cash income on his taxes

59. Beyond his involvement setting up prostitution dates for Buzdum, CW-l said
Miller knew prostitution was occurring at TNT because he established relationships with pimps
like Childs who brought their girls to work there. CW-l explained that Miller was under pressure
from Buzdum to grow the business by any means necessary'. Miller took TNT from a club that
earned very little money to a successful establishment that often made 318,000 a week or more by
courting pimps to bring their girls there, and encouraging a clientele that included drug dealers,
gang members, and men looking to pay for sex. Miller established pimp-friendly policies, such as
» not requiring the dancers who worked for Childs to tip out the bartenders and bouncers at the end
of a shift. 1f Childs ever had an issue with how TNT was treating him or his dancers, Miller and
Childs would negotiate an agreement or understanding CW-l said that Buzdum knew there were
pirnps operating at his club but did not care.

60. After CW-l turned 19, she began bartending and helping to keep TNT’s books
Lap 'dances, champagne rooms, money from the till (bar), door fees, and dancer fees and fines were
all tracked using a tally system in a series of notebooks After Miller lost one set of notebooks,
CW-l started keeping a double set.`

61. According to CW-l, TNT kept as much as $20,000 in singles on hand in the club.
CW-l used to get these singles from her bank, but they eventually told her that she required more
cash than they could conveniently provide her. 1f an exchange of bills over $10,000 was needed,
Miller'made the exchange at the Bank of Lake.l\/lills. CW~l believed that the owner of Bank of

Lake Mills’ son, Ty (known to me as Ty Neupert), may have invested in TNT.

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62. CW-l explained that customers paid at the bar for champagne rooms but negotiated
sex acts privately with the dancers and paid them for those services directly once inside the
champagne rooms Customers could charge any amount they desired on a credit card and receive
any amount over their tabs in cash. This cash could then be used to pay for sex acts

63. CW-l learned what a pimp was early on, when she went to her first TNT staff
barbecue and saw Childs and “Ball” (Kendrick Hayden) each bring multiple dancers with them.
Over time, she became familiar with other pimps who brought dancers to work at TNT, including
one who went by “Spider.” The dancers who worked for pimps would sometimes come into work
with injuries CW~l remembered that Ball split the cheek of a dancer who went by “Sixxx” in
2012 or 2013, and that other times she would come in with bruises Another one of Ball’s girls,
who went by “Callie,” once came in with a split lip. Likewise, women who worked for Childs,
such as Campbell and Victim 1, sometimes came in witha split lip or a bruise.

`64. The dancers tried to hide their injuries with makeup, but those who worked at the
club could easily see what had happened Although they did not speak about these incidents
openly, dancers would talk quietly amongst themselves about them.

65. Ball had a particular reputation for violence among TNT’s staff and dancers Ball
used to come to TNT during operating hours to supervise his dancers, but Miller eventually created
a rule that pimps were not allowed to hang out in 11\11` because they were inciting problems
between the pimp-controlled dancers and the independent dancers After several years, Ball beat
Sixxx so badly that Miller and CW~l convinced her that she needed to leave Ball. Sixxx lived
with Miller and CW-l for a time and worked as TNT’s “house mom,” coordinating the dancers’

schedules

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66. CW-l believed that the women working for Childs did not have any choice about
whether they worked at TNT each night Victim 1 would often complain to CW-l that she was
exhausted working double shifts and just wanted to go home. CW-l believed Victim 1 was only
working because Childs demanded that she do so. l

67. CW-l understood that Childs used Campbell as his eyes and ears inside the club to
keep control over Victim 1 and Victim 2. CW-l could tell that Victim 1 and Victim 2 felt on edge
around Campbell. They were unusually quiet in her presence, especially in Campbell was in a bad
mood They knew that Campbell would report anything that they did or said back to Childs Gn
several occasions, CW-l saw Victim land Victim 2 give Campbell their pay envelopes

68. Campbell used to have a lot of sugar daddies at TNT who would regularly give
Campbell money and buy things for her. Over time, they learned that Campbell had a pimp. Even
though Campbell would deny to them that Childs was their pimp, they would eventually become
convinced that he was and complain about it to CW-l and others

69. CW-l recalled that while she was bartending, Childs and Ball would sometimes
instruct her or the other bartenders not to make any alcoholic drinks for one of their girls even if
they ordered one. According to CW~l, they would sometimes make drinks for these dancers in
spite of the pimps’ instructions because they felt sorry for them having to live and work under the
pimps’ control.

K. Information Provided by CW-Z

70. On October 31, 2017, 1 interviewed CW-2. CW-2 worked as a bouncer at TNT

from the time he was 18 (approximately 2015) through the summer of 2017, when he was

terminated along with Miller and CW-l.

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71. During his tenure at TNT, CW-2 witnessed acts of violence that occurred at TNT
between pimps and the women who worked for them. CW-2 said that on at least one occasion, he
had to physically remove Childs from TNT because CW-2 had seen Childs physically assault
Jennifer Campbell. CW-2 also saw Ball physically assault Sixxx. b

L. Information Provided by CW-3

72. On August`13, 2018, case agents interviewed CW~3, who had danced at TNT for a
time in 2014. CW-3 recalled that Childs used to come to TNT nearly every night at that tirne.
After CW-3 had been dancing at TNT for about three weeks, Childs approached her and tried to
recruit her to work for him. Campbell likewise tried to pursue her to join their “team.” CW-3
declined

73. CW-3 said that after about three months of dancing at TNT, she learned that other
dancers were making much more money than she was by engaging in sex acts with customers in
_ the champagne rooms CW-3 began to do the same.

'74. CW-3 recalled that Buzdum was a frequent prostitution customer in his own club
and had certain dancers whose company he preferred, including Campbell. CW-3 said that Miller
once set up a date between CW-3 and Buzdum in a champagne room and paid her for the
anticipated sex act. Buzdum was too intoxicated to perform, but he still gave CW-3 a tip.

M. Inforrnation Provided by Joseph J enrich

75. Joseph J enrich reached out to FBI Special Agent Heather Wright in August 2018,
saying that he had been hearing a lot of rumors about TNT since the arrest of Childs and that he
wanted to “set the record straight.” SA Wright interviewed 1 enrich on August 28, 2018. 1 enrich
had worked as a bartender for Buzdum for approximately ten years, first at the Roadhouse and

then later at TNT. 1 enrich quit shortly after Miller was fired in August 2017.
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76. J enrich stated that many of Buzdum’s current and former employees not only from
TNT but also from his other establishments did not like Buzdum. 1 enrich gave the example of a
bartender from the Dew Drop lnn who was fired because she refused Buzdum’s sexual advances
1 enrich also stated that Buzdum had a habit of smacking the backsides of his female bartenders
Furtherrnore, lenrich said that Buzdum would frequently come to TNT drunk and take dancers
into the champagne rooms to have sex with them, even when his stepsons were at the club.

77. 1 enrich described how, when Buzdum turned the club from the Roadhouse into
TNT, he took down the curtains that used to divide the champagne rooms and instead installed
doors Later, locks were installed on the doors 1 enrich believed this was done to ensure customer
privacy during private dances According to Jenrich, there were no cameras in the champagne
rooms This was different from the rest of the club, which had cameras installed throughout

78. 1 enrich admitted that customers at TNT were always talking about dancers
performing sex acts in the club and how much these services cost. 1 enrich stated that on the few
occasions when dancers were caught blatantly performing sex acts a few times, they were fired
1 enrich also stated,' however, that certain customers were routinely allowed to run their credit cards
at the bar in order to receive cash back most likely used to pay for sex acts in the champagne
rooms

79. 1 enrich would sometimes hear dancers saying things like that they had to run off to
“daddy,” which he understood to mean they had to get home to their pimps 1 enrich was aware of
several pimps who operated at TNT. He said that one went by Ball and had dancers named Sixxx
and Satin working for him. This pimp used to frequent TNT until Sixxx stopped working for him.
Jenrich recalled that Satin later worked for another pimp, Spider, who also brought his girls to

TNT. Spider had a “bottom” named Ciara, and Ciara recruited a TNT dancer whom 1 enrich had

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formerly dated to work for Spider. This dancer called J enrich crying and saying that Spider had
thrown her on the ground, branded her on her neck with a tattoo, and told her she was going to .
Atlanta to prostitute for him.

80. 1 enrich said he remembered that Childs would come into 11\11 when Jennifer
Campbell, Victim 1, and Victim 2 were working He stated that he never thought Childs was a
pimp because Childs and Campbell were “older.” Nevertheless, he also remembered how Miller
had instructed then-bouncer 1 ake Maroo to help Victim 2 escape from Childs

81 . According to Jenrich, Buzdum had pushed Miller hard to bring in more dancers and
make more money. Following Childs’ arrest, Buzdum claimed that everything that happened at l
TNT was Miller’s fault because Miller encouraged business from the wrong crowd Buzdum was
also saying he had no idea Childs was a pimp. 1 enrich pointed out, however, that Buzdum played
poker with Childs once a week at the Dew Drop lnn. J enrich believed that Buzdum had to know
why Childs frequented TNT.

N. Information Provided by Ryan Jorns

82. On March 29, 2018 and October 16, 2018, case agents interviewed Ryan Jorns
(“Jorns”), who was then working part time as a bouncer at TNT. Jorns was familiar with Childs
as a pimp from both of these locales. Jorns could not recall having seen Childs inside TNT or the
Hardware Store but said he often saw Childs in the parking lots of these clubs

83. Jorns had been a regular client of Victim l and paid for sex with her on numerous
occasions through December 2016. Jorns was aware that Victim l and Campbell worked for
Childs and that they conducted prostitution dates outside of the clubs Jorns initially stated that
Victim l and Campbell “possibly” also did dates inside the champagne rooms at the clubs He

later admitted to doing prostitution dates with Victim l, as well as another dancer, inside TNT.

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84. lorns was also aware that Childs was violent with the women who worked for him.
Jorns had heard from these women that Childs would sometimes painfully squeeze the backs of
their necks to get their attention while they were inside the clubs, but he would do it in such a way
that an observer would think he was j.ust giving them a neck massage. He also knew that Childs
would sometimes call Miller to say that Campbell would not be coming in to dance at TNT for a
few days and that this would signify that Childs had beaten Campbell.

85 . Jorns recalled an incident in January 2017 when the Hardware Store’s manager told
lorns to take Victim 1 home because she had come to work high. Jorns took Victim 1 inside
Victim 1’s home, where she passed out on her bed lorns then fell asleep on Victim l’s couch.
Later, lorns was awakened by the sound of Victim 1’s phone ringing repeatedly, followed shortly
thereafter by the sound of Childs pounding on Victim 1’s back door. Victim 1 urged Jorns to exit
through the front door, and Jorns did so without encountering Childs lorns believed that Childs
had come inside Victim 1’s house after lorns was gone and either “scolded or beat” Victim 1.

86. Jorns believed that Miller was formerly a pimp in Chicago before becoming the
manager at TNT. According to Jorns, if a dancer who worked at TNT had a pimp, and the pimp
knew Miller, Miller would report to the pimp how much the dancer had earned thus far in the night

O. ` Information Provided by Jacob Maroo

87. On l\/larch 29, 2018, 1 interviewed lacob Ma:roo (“Maroo”) in connection with this
investigation Other case agents also interviewed Maroo on April 10, 2018. Maroo had worked
on and off as a bouncer at TNT for approximately seven years 1~1e stated that he quit in the fall of
2016 because there were lots of gang members and shady characters frequenting TNT, and he
feared there would be a shooting After Miller was fired in August 2017, Maroo agreed to come

back on board as TNT’s manager. Maroo is presently employed by Buzdum in that capacity.

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88. Maroo described Buzdum as a “good guy” and “family-oriented.” Later, however,
d he described how Dawn, Buzdum’s wife, had caught Buzdum having sex with one of TNT’s
dancers in a champagne room at TNT. He also admitted to driving dancers to Buzdum’s apartment
above the Dew Drop 1nn for a few hours at a time.

89. Maroo stated that Buzdum pays him every two weeks He receives his pay as 85 92
via check and 8900 in cash. According to Maroo, Buzdum suggested splitting Maroo’s pay this
Way so that Maroo and his then~pregnant wife and children would continue to qualify for public
benefits Maroo said that Buzdum personally signs all of TNT’s payroll checks and drops them
off on Tuesdays or Wednesdays. Maroo is also regularly paid cash bonuses of anywhere between
$40 and 8290 a night, depending on the night of the week1

90. As a part of his job responsibilities l\/laroo tracks TNT’s income from the register,
room fees for the lap dance room and champagne rooms, and house fees from the dancers each
night. At the end of the night, Maroo places the reports of these sources of income into a safe
located behind the bar. Maroo has also been keeping a second set of books since November 2017,
which he stores in his car. l

91. Maroo stated that TNT has two safes~ and that the bartenders all have the codes to
the safes. He said that they may contain as much as 810,000 total at any given time. 1f the club
was running low on cash during business hours, Maroo says he would go to Buzdum’s house
(N9661 Boje Court) and retrieve additional cash that was stored in Buzdum’s van. 1 know
Buzdum to own a 2014 Blue Toyota Sienna Sport Van with VlN 51DYK3DCOES454630 and

Wisconsin tag 18 lVZN.

 

1 Case agents have verified, based on 2018 Wisconsin Department of Workforce Development reporting that TNT
had only paid Maroo a total of $12,527 by check through the third quarter of the year.
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92. According to Maroo, TNT’s business was approximately half in cash and half in
credit Customers who want to use a credit card to get cash can do so at the bar for a 10% fee.
TNT also has an ATM that is serviced by a private company.

93. Maroo said that he sent both Buzdum and Dawn text messages to their phones with
TNT’s sales figures each night at 10 p.m., midnight, and closing Maroo also said that Dawn used
to come into TNT on Sunday nights to do a weekly inventory. At that time, Dawn would pull
tapes from the point of sale system and place them in the safe. Maroo said he used to run a separate
copy of TNT’s income reports for Dawn that was placed in the liquor cabinet at the bar, however
Dawn told Maroo in April 2018 that she no longer needed her own reports

94. l\/Iaroo was aware that Buzdum and TNT use the Bank of Lake Mills as their
primary financial institution 1-1e believed that Buzdum knew someone there. Maroo stated he did
not have signature authority on TNT’s bank accounts however he was given a credit card with
which to buy pizzas, water, soda, and other supplies for TNT. Since Maroo has been managing
TNT, most of TNT’s bills have been mailed to the Dew Drop 1nn Maroo indicated that Buzdum’s
main office is in the basement of the Dew l)rop 1nn

95. According to Maroo, Buzdum normally drops off TNT’s employee payroll checks
at the club on Tuesdays or Wednesdays. Buzdum also comes to TNT every day between 9 a.m.
and noon and places a green bag in the primary safe with money for the cash register.~

96. Maroo stated that TNT has five champagne rooms,' each large enough to fit a couch
and a table. Maroo estimated that the champagne rooms are used six to eight times on weeknights,
eight to ten times on Thursday nights, and about 14 times on the weekends Maroo was aware that
TNT currently charges $250 for the use of a champagne room for 30 minutes or $175 for 15

minutes He stated he has heard that dancers can earn $100~300 in additional “tips” from

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customers inside the champagne room. Maroo believed these tips were in exchange for sex acts,
though he claimed to have no direct knowledge or confirmation of this

97. Although there were cameras all over TNT, which Maroo attributed to Miller being
“paranoid,” there were no cameras in the champagne rooms The cameras elsewhere in the club
could be monitored in real time from Buzdum’s house.

98. Dancers were given a cut of the room fees they had brought in for TNT at the end
of each night in an envelope Maroo said Miller had previously seen Campbell and Victim 1 taking
_ money out of their own envelopes and hiding it. Maroo understood that Campbell, Victim 1, and
Victim 2 worked for Childs, whom Maroo saw at TNT while Maroo was a bouncer there. He
further understood that Campbell was Childs’ “eye and ears” when Childs was not at TNT, and
that she would report back to Childs about what the other girls who worked for him were doing

99. l\/laroo observed that the women who worked for Childs came in with bruises “a lot
more often than not.” He recalled seeing Victim l with multiple bruises and seeing Victim 2 with
a black eye. Maroo helped Victim 2 hide from Childs after one such occasion Victim 2 told
Maroo that Childs was raping her in an effort to get her pregnant so that she could not leave him.

100. t l\/laroo said Victim l and Victim 2 frequently talked about leaving Childs while
they worked for him. They would try to save toward that goal by hiding it, however one would
usually end up telling Childs about the other’s plans in order to protect herself. Maroo also j
remembered Campbell talking with Miller about wanting to leave Childs Campbell, Victim 1,
and Victim 2 would discuss the rules that Childs imposed on them, such as not doing “extras” with

black men

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101. Maroo believed that Childs’ violence toward his victims went in cycles He stated
that the victims would “misbehave” for a bit, that they would “learn their lessons,” and that the
bruising would subsequently stop for a time before the cycle began again

P. Inf`ormation Provided by Justin Gillis

102. . lustin Gilli's, Buzdum’s stepson and Dawn Buzdum’s son, is currently a defendant
in a criminal case in this district and has been charged with multiple Hobbs Act robberies Case
agents debriefed Gillis concerning his knowledge of facts relevant to this investigation on luly 24,
2018 and August 1, 2018.

103. Gillis worked as a bartender and bouncer at TNT’s Clyman location from the time
he was 18 (in 2007) through October 2008. Gillis also worked at TNT’s current Lebanon location
and at the Dew Drop 1nn from March 2013 until sometime in 2014 or 2015. Gillis reported that
Buzdum fired him over personal disputes concerning Gillis’ girlfriend

104. Gillis stated that TNT’s employees were paid every two weeks, and payroll was
done at Buzdum’s house. Each pay period, Buzdum gave G~illis a bag with cash in it to pay the
cash portion of the employees’ wages The amount of cash in the bag was always different, but it
was usually between $l,5 00 and $2,000. Gillis said that Tim Miller, CW-l , and Lewis Miller were
paid via a combination of cash and check All of the bouncers were paid solely in cash and were

paid at the end,of each shift2

 

2 Case agents have reviewed the quarterly reports that Buzdum submitted to the Wisconsin Department of Workforce
Development to document the wages paid to Tequila Nights, 1nc.’s employees from 2013 through the third quarter of
2018. They noted that none of the former TNT bouncers of whom law enforcement is aware, including Russ Klein,
Haley Radtke, Paul Dorsey, loseph Jenrich, Ryan Jorns, 1 ason Berke, J ames Miller, Amadee O’Gorman, Eril< LNU,
Luis LNU, and Henry LNU, appear in any of these quarterly reports Additionally, Tequila Nights, Inc. only reported
Jacob Maroo’s wages (that is, the portion paid by check) after Maroo began managing TNT in 2017; he was not listed
in the reports during the years when he was a bouncer.

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105. According to Gillis, it was common knowledge that prostitution was available with
dancers in TNT’s champagne rooms The idea was that the champagne rooms were supposed to
be used for private lap dances and include an inexpensive bottle of champagne, however Gillis
stated that very little champagne was ever served at TNT.

106. Gillis further stated that the reason his mother was divorcing Buzdum was because
Buzdum himself was paying for sex with TNT’s dancers Gillis described how Buzdum would
frequently come to TNT drunk, sometimes with his brother or an entourage of` friends, and use the
largest private room in the back of the club. Buzdum would have a dancer or group of dancers
brought into the room for him or him and his friends to have sex with. Dawn had-discovered this
practice and made a recording on her phone of Buzdum having sex with one of the dancers

107. Gillis said that Miller was often~responsible for brokering Buzdum’s paid sexual
encounters Miller once setup such a “date” for Gillis, however Gillis was too intoxicated at the
time to perform. Gillis said that sex acts were generally negotiated and paid for directly between

_ customers and dancers inside the champagne rooms l

108. Gillis stated that the practice of allowing and encouraging prostitution in TNT’s
champagne rooms stemmed largely from Miller taking over as manager and being pressured by
Buzdum to improve TNT’s bottom line. Miller began recruiting pimps, including Childs, Ball,
and others, to bring their girls to dance at TNT. ln time, almost all of TNT’s dancers, even those
who did not have pimps, were performing sex acts for money inside the club.

109. Gillis explained that the promotion of prostitution brought in both additional
clientele, who were specifically interested in exchanging money for sex, and additional money

directly to the club, in the form of champagne room fees The champagne rooms were used almost

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exclusively for sex acts, allowing TNT to charge a fee substantially higher than that ordinarily
charged for lap dances. This fee was paid to the bouncers and split between TNT and the dancer.

110. Gillis got to know Childs from seeing him at TNT. He noticed that Childs'was
treated with special respect Childs did not have to pay for anything he wanted at TNT. Childs
and other pimps were often allowed inside TNT before it opened for the evening and after the club
closed for the night. Gillis recalled an instance where Miller even instructed Maroo to fill Childs’
gas tank with money from TNT’s till.

111. Childs was very vocal about being a pimp and told Gillis that he had been a pimp
for a long time. Childs bragged that Campbellalone made him $1,5 00 to $2,000 per night. Gillis
did remember Campbell as one of the top~earning dancers at TNT and said that she had bought
Childs a Hummer with the money she made from selling sex there. Childs also told Gillis that if
TNT’s bouncers arranged dates for Campbell, Campbell would kick them back some money.

112. lt was Miller who first told Gillis that Campbell was Childs’- ‘fbitch.” Gillis said he
seldom saw Campbell at TNT without Childs being there too. One night, after closing, Gillis
observed Childs and Campbell arguing and saw Childs strike Campbell. When Gillis asked Miller
about the incident, Miller said it was because Campbell had gotten drunk and lost her money.
When Gillis later told Buzdum about it, Buzdum replied, “That’s Tim’s [Miller’s] department.”

113. 1 showed (iillis a photograph of Victim 5 . Gillis recalled meeting her through a
workout buddy and arranging for her to audition at TNT. Gillis also remembered that when he
brought Victim 5 to TNT, he saw Childs there and warned Victim,$ that Childs was a pimp and a
manipulator. Gillis told Victim 5 that she should stay away from Childs Later, Victim 5 stopped

talking to Gillis when he came to TNT, and Gillis learned that Victim 5 was “messing wit ” Childs

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According to Gillis, Miller relayed a message to him from Childsthat Gillis should not speak to

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Victim 5.

114. Childs told Gillis that his son, Chris Jr., was also a pimp and that Chris Jr. was
trying to recruit Sixxx to work for him. Gillis knew that Sixxx had previously worked for a pimp
known as Ball. Gillis said Ball also controlled other TNT dancers, including “Callie” and
“Brooklyn.”

115. Ordinarily, Ball would not let his girls near Gillis because Gillis was not buying
sex. Gillis recalled a time when he paid for a lap dance from Callie. ln the lap dance room, Callie
began crying and telling Gillis that she wanted to get away from Ball. Gillis shared this with
Miller, and Miller later helped Callie to leave Ball. Despite this apparent altruism, Gillis says
Miller would frequently talk to Gillis about how he could send Gillis dancers to “manage” if he
wanted to “get into the business”

116. Gillis believed that ever since his mother, Dawn, first filed for divorce from
Buzdum, Buzdum has been trying to hide money f`rorn Dawn. Gillis opined that if Buzdum Were
to use one of his family members to hide money, it would be Dusanka “Diane” Buzdum, Radomir
13uzdum’s sister. Gillis stated that when things first went bad between Buzdum and Dawn,
Buzdum stopped using the safes at the Dew Drop 1nn (because Dawn had access to them) and
started hiding the money elsewhere Gillis stated that Dawn once told him she had seen a text
_message on one of Buzdum’s phones saying that Buzdum was giving his brother, Boromir
Buzdum, 8100§000.

117. Gillis also believed that when Boromir was going through bankruptcy several years
ago, Buzdum may have put one of Boromir’s businesses into his own name and held onto t

approximately $70,000 in cash for Boromir so that Boromir would not lose the money in the

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bankruptcy proceedings Gillis' based this on conversations that he says he overheard between
Buzdum and Dawn, as well as things that Dawn would relate to Gillis directly.
Q. Information Provided by Dawn Buzdum

j 118. On November 13 and 14, 2018, other case agents and 1 interviewed Dawn Buzdum,
Radomir Buzdum’s estranged wif`e. Dawn married Buzdum in 2003. At the time of her marriage
to Buzdum, she already had two sons from a prior marriage, one of whom is Justin Gillis. Dawn
stated that she and Buzdum are currently in the midst of a divorce stemming from, among other
things, her discovery that Buzdum was paying for sex with dancers at TNT.

119. Dawn described various bars and restaurants that Buzdum had owned and run in
Wisconsin and in Florida when they were first married She stated that Buzdum eventually sold
one of these establishments a Mexican restaurant called Tequila Nights, and used the proceeds to
buy the property in Lebanon, Wisconsin, where TNT was later established At first, Buzdum
operated that property as a supper club that he called Buzdum’s. Buzdum’s had a three-bedroom
living space below it, and Dawn and Buzdum lived there for a time. The supper club, however,
did not make much money. Buzdum then opened a bar that he hoped would be more profitable,
the Dew Drop 1nn

120. Dawn stated that Buzdum leased the supper club property in Lebanon to several
different lessees, culminating with “Pauly” (known by law enforcement to be Paul Deangelis).
Deangelis leased the property with an option to buy and later turned the business from a supper
club into a strip club called the Roadhouse`. Dawn indicated that Buzdum assisted with this
process

121. Dawn reportedthat around 2005-2006, Buzdum also opened his own strip club in

Clyman, Wisconsin, in the building where the Hardware Store strip club currently operates He

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called the strip club the TNT Gentleman’s Club. Dawn was involved in auditioning and hiring
dancers, ordering liquor, and tracking TNT’s finances Dawn said she would even host monthly
parties for TNT’s dancers, giving out gift cards to those with the highest sales totals, and offering
them help with things like obtaining a GED or signing up for various social services Dawn
recalled that Buzdum initially spent a lot of time at TNT. Once things were off the ground and
running smoothly, he gradually went less frequently, mainly stopping by to pick up and drop off
money.

122. According to Dawn, approximately two years after TNT opened in Clyman, Don
Raffaelli and l\/lichael Siegel approached Buzdum about selling TNT’s building They purchased
it from Buzdum and opened their own strip club there, the Hardware Store.

123 . Dawn explained that Deangelis defaulted on his lease of the Roadhouse in Lebanon.
Buzdum then took control of the property and transformed it into a new incarnation of the TNT
Gentleman’s Club. Miller, who was then the manager of the Roadhouse, was made manager of
TNT. Buzdum gave Miller great authority over TNT. He had a credit card to make purchases for
TNT, the combinations to all of the safes at TNT and the Dew Drop 1nn, control over the gambling
machines at both establishments and full access to Buzdum’s home.

124. Dawn said that when Buzdum reestablished TNT in Lebanon, he began to cut her
out of the business He told her that she would only be doing inventory for the club, and he later
instructed club employees not to let her in the door during business hours Dawn started to hear
troubling reports from some of the dancers, such as that Miller demanded oral sex from them in
order to work at TNT. According to Dawn, many of the original TNT dancers refused todance at

the new TNT because things had changed

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125. Buzdum kept current with profits from TNT and other clubs he was involved in by
requiring texts from the managers twice nightly informing him of sales Dawn said that for years,
Miller would text Dawn and Buzdum with the number of dancers working, the amount in the till
as of 9 or 10 p.m., the number of champagne rooms paid for, and the number of lap dances paid
for.3 One night, Dawn saw a text on Buzdum’s phone with nightly numbers for TNT and realized
they were different than the numbers she had been texted. Dawn confronted Buzdum, who told
her she was crazy. Dawn later discovered, however, that any cash received in connection with lap
dances and champagne rooms was not added to the till but went straight into Buzdum’s pocket.

126. Dawn described how Buzdum “flipped a switch” in 2013. He began drinking
excessively and became verbally abusive toward Dawn. He sometimes threatened to stab Dawn
or to put a bullet in her head (while handling a gun). He also began taking Dawn’s name off of
legal paperwork concerning their assets He would tell Dawn that she had a bad credit score and
that he could get better interest rates by himself He began hiding money and other assets with the
help of his siblings so that Dawn would not have access to it.

127. Dawn suspected that she was not being given accurate information about the
businesses’ sales 1n early 2018, Dawn paid to have a point of sale (POS) system installed at TNT
so that she could get a more accurate picture of their finances 1n l\/lay or June 2018, Buzdum
instructed the employees not to use the POS systems and to use other cash registers instead Dawn

believed, however, that the POS still had a running total of all sales before use of it was

 

,3 Following Dawn’s interviews and with Dawn’s assistance and consent, agents accessed Dawn’s iCloud account
Among the items of evidence recovered from Dawn’s iCloud account were numerous text messages from Tim Miller
to Dawn with sales numbers from TNT. Case agents also found a photo of the screen of another phone capturng a
text message dated May 2 of an unknown year at 12:07 a.m. The message appeared to be from CW-2 and read, “Hello
Rad the 11:00 numbers are 567 till, 4 lap dances, and 1 champagne room.” Iknow Rad to be the nickname of Radomir
Buzdum.

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discontinued and that this total had not been zeroed out. Dawn said that the Dew Drop 1nn had
had a POS system since 2013 or 2014. The gambling machines at the Dew Drop 1nn are connected
to the POS system as well.

128. Dawn said she recalled Buzdum bragging that his video gambling machines at the _
Dew Drop 1nn made him $50,000 to $60,000 in one particular month. When going through a
digital forensic report of Dawn’s phone, l located a video that shows Dawn talking with Buzdum,
Dawn asks Buzdumif.the machines make $50,000 to $60,000 a month, and Buzdum replies that
the previous month they made him '$19,000.

129. Dawn gave me records showing past cash payouts made by the Dew Drop 1nn for
customers’ winnings from the gambling machines there. Dawn stated that Buzdum did not report
the income from his gambling machines on his tax returns ln addition, Dawn has since provided
case agents with an email dated lune 25, 2018 in which Buzdum was attempting to negotiate a
settlement of financial issues related to the divorce. ln the email, Buzdum told Dawn to change a
reference to the gambling machines to simply state, “revenue” because the “machines are illega .”

130. By 2014, Dawn also began to suspect that prostitution was taking place at TNT and
that this was the reason why Buzdum was trying to keep her out of the club’s business Dawn
stated she had overheard Buzdum and Miller talking about prostitution and pimps Buzdum tried
to keep Dawn from overhearing their conversations on that topic, but Dawn heard Buzdum say
that he wanted Miller to keep the pimps from hanging out at the club.

131.> Dawn believed that Buzdum was well aware that Childs was a pimp. She stated
that Childs played poker each week at the Dew Drop 1nn and that Buzdum sometimes joined these
games. She explained that Buzdum did not want Childs to be seen inside TNT, however, because

he was a pimp. Dawn recalled that on one occasion, Gillis had traded cars with Childs for a week

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Buzdum was upset about Childs’ Hummer being parked in their driveway (at N9661 Boje Courtj
during that week because he did not want a “pimp’s car” being seen in front of his house

132. Dawn also observed during a visit to TNT that multiple small V1P rooms with
locking doors that been added, and that there were no surveillance cameras in these rooms
Elsewhere in the club, however, TNT had a network of surveillance cameras that Dawn was able
to monitor on her phone Dawn added that the recordings from these cameras are not recorded
over and that they are typically retained, however Buzdum has two different systems at TNT so
that he can be selective about what he wants to turn over in the event of a request from law
enforcement

133. 1n l\/lay 2015 , Dawn filed for divorce from Buzdum.4 Pursuant to a court order that
Buzdum vacate their home, Buzdum moved into the apartment above the Dew Drop 1nn Dawn
had been receiving reports from her son, Gillis, and one of the bouncers’ wives that Buzdum was
paying TNT dancers for sex. Dawn also began noticing, when she would view the surveillance
cameras at TNT (which she and Buzdum could do on their phones), Buzdum would sometimes
disappear from view in the back of the club. One night, Dawn went to TNT to find out where
Buzdum was going when he was off camera.- Right after she saw Buzdum go off camera, she
drove to TNT. She discovered that there was a clandestine way for Buzdum to access the large
VIP room in the back of the club that was not visible on camera Dawn entered the room and
found Buzdum inside with a naked dancer. Dawn recorded a video, which she turned over to me,

that begins a few moments after Dawn walked into the room. 1n the video, Buzdum has his shirt

 

4 Dawn later stipulated to a dismissal of her petition for divorce in January 2016 because she ran out of money.
Later in 2016, she and Buzdum jointly refiled for divorce Dawn stipulated to a dismissal of that petition in
November 2016 because she was battling a serious illness and felt that she did not have the physical stamina or the
financial means to continue with the divorce Buzdum moved back into their home on Boje Court in 2016 to assist
Dawn with her medical issues Dawn and Buzdum jointly filed for divorce again in lune 2018.

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off, and the dancer is getting dressed Dawn tells Buzdum that she caught him “red-handed,” and-
the dancer says she only gave Buzdum a naked lap dance When Dawn asks why the dancer’s face
was in Buzdum’s crotch during the “dance,” no one replies

134. After Dawn filed for divorce, dancers told her that Buzdum had made Miller and ‘
CW~l threaten to fire them if they told Dawn about what Buzdum was doing at Tl\lT (paying
dancers for sex). They also told her that Buzdum had been saying he would leave her “penniless”
after their divorce

135. Around that time, a dancer contacted Dawn and arranged to meet her at Mayfair
l\/fall. The dancer provided a video of Buzdum negotiating sex for money with two dancers Dawn
turned a copy of this video over to me, as well as additional videos that capture her meeting with
the dancer. The video the dancer gave Dawn depicts a shirtless Buzdum negotiating payment with
two dancers, one of whom is visible and the other whose voice can be heard

136. Dawn also downloaded video recordings from her home Nest camera system. 1n
one video, which Dawn played during her interview, Buzdum and a friend discuss going to TNT
to select dancers to have sex with. 1n the course of her interview, Dawn also consented to agents
downloading the content of her iCloud account, which contained these and other videos involving
Buzdum.

137. Dawn stated that Buzdum has told her that he takes “pills” recreationally. Dawn
knows Buzdum to store some of these pills inside a toothpick holder in his pocket and to dispense
them to golfing buddies who complain of aches and pains Dawn said that Miller obtained the
pills for Buzdum, Dawn also noted that Buzdum sometimes used “some kind of opiate” and that

she had heard from others that he uses cocaine According to Dawn, however, Buzdum’s principal

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drug of choice was alcohol, and it was not uncommon for Buzdum to drink 1.75 liters of alcohol
by himself. d

138. Dawn explained that in 2015, just before she filed for divorce, she was shocked to
learn that she and Buzdum owed the government over $200,000 in unpaid taxes Dawn stated that
she tried on several occasions to talk with their accountant, Daniel Sanft, about it, but that Buzdum
would insist on going to see Sanft with her and would dominate the conversation Buzdum also
prevented Dawn from seeing any of the tax return paperwork that he had her sign and was very
secretive with their mail at the Boje Court home so that Dawn would not discover notices
indicating that he had not been paying their taxes

139. l\/leanwhile, in spite of Buzdum’s repeated claims that they did not have money to
pay off their tax debt, Dawn saw that Buzdum spent exorbitant amounts on his personal desires
Dawn reported that Buzdum took expensive golf vacations to California and had an estimated
$700,000in renovations made to the house on Boje Court in 2017. The improvements included
new gas fireplaces, a new swimming pool, a complete remodeling of the garage and kitchen, new
televisions and speakers new furniture, and the installation of what Buzdum described as the
“Cadillac of hot tubs” on the back deck Dawn showed me recent emails wherein she and Buzdum
argue about the propriety of these expenses

140. Dawn stated that Buzdum previously used BMO Harris for both his personal and
business banking 'After BMO Harris took issue with Buzdum cashing numerous payroll checks
Buzdum transferred the accounts to the Bank of Lake Mills. Dawn stated that Buzdum is friendly
with '1`y Neupert, the owner’s son

141. Dawn was aware that both TNT and the Dew Drop 1nn did a large portion of their

business in cash, and that Buzdum did not deposit all of this cash into the bank Dawn stated that

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she had seen Buzdum with shoeboxes full of cash at their home in 2015. On one of these occasions
Dawn said Buzdum asked her if she had ever seen that much cash before at one time Dawn replied
that she had not. Buzdum then told her that shenever would again

142. Dawn knew that Buzdum kept cash in five safes in various locations around the
Dew Drop 1nn, including in the basement and behind the bar. She also stated that as of the time
she moved out of their house located at N9661 Boje Court in Watertown in Augus`t 2018, they
had two safes one of which was anchored to the floor of the bedroom closet, and the other of
which was in the garage Dawn was aware of two safes that had been upstairs at TNT, but she
said Miller took them with him when he was terminated She also knew of another in TNT’s
basement but said it was very old and no one knew the combination for it. Additionally, Dawn
knew that Buzdum kept cash stashed under the front seat of hisminivan.

143. Dawn indicated that Buzdum’s office was located in the basement of the Dew Drop
1nn This is where the sheets used to track lap dances and champagne rooms from TNT are kept,
along with the moneybags from 11\11. Dawn said that Buzdum does not have a computer either at q
home or in the office and instead uses his phone to keep track of income and expenses Dawn
reported that Buzdum’s cell phone is (920) 248-3360, which law enforcement has verified f`rom
other information obtained during the investigation Dawn stated that Buzdum stores receipts at
the Dew Drop 1nn in the basement, the mudroom, or one of the unattached garages l

144. Dawn expressed concern that Buzdum may be attempting to conceal assets
(primarily cash) at his brother Boromir Buzdum’s bar in Germantown, Buzdums Pub & Grill.
According to Dawn, whenever one of the Buzdum siblings has a legal problem that could affect
their assets it is common for them to hide cash and other assets with the other siblings For

example, Dawn said that when “Diane” Buzdum, Radomir Buzdum’s sister, was getting divorced

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in 201 l, lRadomir hid $30,000 in cash for Diane in hopes of keeping it nom her ex-husband. Dawn
herself opened a safe deposit box, at Buzdum’s instruction, to conceal this cash.

145. Dawn stated that when she moved out of the home on Boje Court on or about
August 1, 2018, she took Buzdum's iPhone Dawn provided the phone to case agents The phone
is described as a black iPhone l\/lodel A1660, FCCID: BCGE3085A1C579C-E3085A.. Dawn
indicated that the phone is not password-protected and that her brother disabled a feature that
would allow the phone to be wiped remotely. Dawn indicated that there are texts photos and
other forms of information regarding Buzdum’s activities on the phone Law enforcement placed
the phone on inventory but has not sought to access the content of the phone pending this warrant
application '

R. v Information Provided by Timothy Miller

146. On September 20, 2017, having been fired from TNT in August, Tim Miller
reached out to the Dodge County Sheriff’ s Office to offer information about Buzdum and TNT.
Miller stated that Buzdum had fired him due to recent`events at TNT, including a shooting that
occurred in the parking lot there on August 2, 2017. Buzdum had promised him $25,000 in
severance pay, only $9,000 of which had been paid at that point Miller indicated that on one
occasion, while he attempted to negotiate the terms of his Severance with Buzdum, Buzdum placed
a gun on the desk between them in order to intimidate Miller. .

147. Buzdum had also attempted to getl\/liller to sign a nondisparagement contract and
to return TNT’s books which Miller had taken with him, in exchange for additional severance
pay. Miller stated that Dawn Buzdum had separately offered him an additional ten percent if

Miller would deliver TNT’s books to her instead Miller declined these offers

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v 148. From September 20 until December 14, 2017, other case agents and 1 interviewed
Miller on five occasions Case agents also had contact with Miller several additional times
including to provide assistance with contacts regarding State unemployment claims Miller was
compensated $800 for his information regarding Buzdum and TNT. '

149. Miller said that he originally began working for Buzdum as a bouncer, and then a
manager, at the Roadhouse. When the Roadhouse closed, Miller filed for unemployment benefits
Buzdum offered to keep Miller on and give him a managerial position when he reopened the
Roadhouse as TNT. Miller continued to collect unemployment for several months while working
at TNT. During thistime, Buzdum paid Miller $100 cash per day. Once Miller could no longer
collect unemployment, Buzdum began paying Miller 315 an hour for 40 hours per jweek, half by
check and half in cash. l l\/liller indicated that Buzdum did this in order to avoid paying
unemployment insurance

150. Miller was aware that Buzdum refused to pay other employees including CW~l,`
by check for similar reasons Former bartender Lewis Miller (no relation to Tim Miller) was the
g only employee paid entirely by check Employees who received paychecks used to pick them up
at TNT or at Buzdum’s home According to Miller, however, they now pick them up at Sanft
Accounting.

151. Miller recalled that former bouncer Russ Klein had broken his ankle while working
at TNT. Buzdum offered Klein a decent sum of money if Klein would file his workers’
compensation claim through his other employer, which Klein did Buzdum, however, never paid
Klein what he had promised

152. Over the years Buzdum put increasing pressure on Miller to make TNT profitable

Miller said Buzdum paid him a $1,000 cash bonus for every thousand dollars that TNT made over

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the weekly target of $9,000. Miller stated it was not unusual for TNT to make 815,000-$16,000
per week while he was manager.

153. Originally, Dawn Buzdum did TNT’s bookkeeping using two laptop computers
Miller later took over when, according to Miller, Dawn got sick of being involved with TNT. b
Miller kept four separate notebooks that tracked different sources of income at TNT, including the
till (bar),~ tip out collected from the dancers the lap dance room, and the champagne rooms Miller
said that after he once lost one of the notebooks he had CW~l start transferring everything in them
into a single master notebook but never finished

154. According to Miller, lap dances cost $25 per song Of that amount, the dancer
received 3315, and TNT received $lO. A champagne room cost $200 per girl for a 30-minute rental,
anda “mini champagne room” cost $150 per girl for 15 minutes The dancers and TNT split the
champagne room fees evenly.

155'. » - Miller explained that fees collected from the dancers were tallied in the tip-out
notebook 1f a dancer arrived when the club opened at 7 p.m., she paid 810 to dance For every
thirty minutes after 7 p.m., a dancer would have to pay an additional $5, up to a maximum fee of
$40 to dance Miller remarked that Buzdum “wanted money from everyone.”

15 6. There was not a notebook for tracking cover charges Cover was $5 on weeknights
and $ l 0 on weekends Miller said he often let customers in without charging cover, however TNT
still made around $800 per week in cover charges which he and Buzdum split.

157. lncome from TNT’s gambling machines was not tracked in a notebook either.
Miller said that the machines at TNT and the Dew Drop easily make 810,000 to $15,000 per week,

however Buzdum does not report this or any other cash income on his taxes lt used to be Miller’s

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responsibility to collect cash from the gaming machines each night, however Buzdum now does
this himself.

158. Miller stated that cash revenues from Tl\fT were deposited into zippered
compartments inside the door of a gun safe in the basement of the Dew Drop 1nn Miller stated
that there was no predictable pattern to how cash was kept there One day there might be as much
as $80,000-100,000 inside the safe, and the next it might be empty.

159. Miller said that if the money was not brought to the Dew Drop 1nn at the end of the
night, it was brought directly to Buzdum at his home on Boje Court. Miller had the combination
to a safe at Buzdum’s home lf Buzdum was not home when Miller brought the money (although
he usually was), Miller would let himself in and deposit the cash into the safe or leave the money
in a bag underneath the front seat of Buzdum’s minivan. Miller also stated that CW-l would
sometimes bring the money to Buzdum’s home the next morning in an envelope

160. Miller indicated that when Buzdum and Dawn were negotiating their divorce in
2015, Buzdum stopped keeping cash at home or at the Dew Drop 1nn, moving it instead to _his
brother Boromir’s bar in Germantown, Buzdums Pub & Grill. l v

161. l Miller stated that Buzdum wanted as few assets in his name as possible during the
divorce For this reason, Buzdum titled a van owned by TNT for picking up dancers and club
supplies as well as a Chevy pickup truck, in Miller’s name Miller now believes Buzdum also did
this in order to avoid liability in the event of an accident or lawsuit

162. According to Miller, Buzdum told him that he did not go through with the first
divorce because he wanted additional time to “tie up some loose ends” and conceal assets in order

to come out better financially
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163. Miller recalled that Buzdum would make false claims of business expenses on his
taxes in order to reduce the amount he owed According to Miller, Buzdum would have him go to
office supply stores and purchase blank invoices These invoices would be filled out to document
fictitious expenditures for improvements to TNT. Miller said he actually spent approximately
$25,000 of his own money on construction materials for improvements to TNT because he
believed that one day he would be part owner of TNT with Buzdum5 Buzdum never reimbursed
Miller for these materials but he did use Miller’s receipts to support his own tax write-offs.

164. Miller used to»pay TNT and the Dew Drop 1nn’s bills by check using one of four
checkbooks for accounts held in Buzdum’s name at BMO Harris Bank Miller also made cash
deposits on Buzdum’s behalf at BMO Harris and the Bank of Lake Mills. l

165. Miller stated that everyone at the Bank of Lake Mills knows Buzdum and that Ty
Neupert, the owner’s son, has a personal financial interest in TNT. Miller believed that Neupert
had bought into TNT and was paying for club advertising in the form of billboards in Fort
Atkinson. Miller said that in September 2017, he overheard Buzdum tell Neupert, “Don’t worry;
you will make money once we get this shit taken care of.”

166 . Miller stated that Buzdum regularly paid dancers at TNT for sex. 1f Buzdum still
owed these dancers money at closing time, Buzdum would have l\/liller pay them from the club’s
till. When Buzdum lived in the apartment above the Dew Drop 1nn, Buzdum would also have
Miller drive TNT dancers there to have sex with him. l

167. According to Miller, Dawn found out about Buzdum’s infidelities through her son,

Justin Gillis Dawn then began offering dancers money to record themselves having sex with

 

5 Miller stated Buzdum had promised him 10% of TNT when he became manager but never delivered

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Buzdum and bring the evidence to Dawn. Miller recalled that one dancer, a minor, took Dawn up
on this offer. When Buzdum learned that this minor had a recording of him having sex with her,
Buzdum ordered Miller to seize the*minor’s phone Miller said he did so.» Miller stated that
Buzdum hired several minors and got fake le for them so that they would appear to be of legal
age to dance at TNT. l
j 168. Miller admitted that the champagne rooms were supposed to be for lap dances;

however, “other things” went on there The club took a cut of all champagne room fees but any
other proceeds from the sexual activities that occurred within a champagne room were considered
“extra” and negotiated directly betweenthe dancers and the customers

169. Miller was reluctant to say that TNT sponsored prostitution occurring in its
champagne rooms He did, however, name several dancers known for engaging in prostitution at
TNT or working for pimps including Childs and Ball. According to Miller, Ball denies being a
pimp, but Miller believes he is because he often travels to Atlanta and talks about how many pimps
are there Miller also described the women who worked for Ball as “all beat up.” He also recalled
an instance in which he saw a dancer give a $30,000 tip she had received from a client to Ball.

170. Miller said the last time he spoke to Childs was when Childs accused Miller of not
paying “Jada” (.lennifer Campbell) her champagne room fees Miller reviewed TNT’s surveillance
cameras and observed Campbell taking money out of her envelope and hiding it in her shirt Miller
told Childs what he had seen

S. Information from Tim Miller’s Phones
171. On l\/larch 9, 2018, the Watertown Police Department arrested l\/liller for Stalking

and Second Degree Sexual Assault of a Child under Watertown Police Department Case 18~386.

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These offenses were unrelated to this investigation into Childs and TNT. When officers made
contact with Miller, they located two iPhone cell phones in his vehicle
172. On March 12, 2018, the Watertown Police Department obtained a search warrant
for the phones and on April 11, 2018, the phones were imaged by Detective Wacker of the
Watertown Police Department During Detective Wacker’s review of the phones he noted that
the phones contained information pertaining to TNT’s operations Detective Wacker made the
following observations
a. l Most contacts in the phones were saved with “TNT” before their names
b-. 4 Miller was using the phones to make contact with dancers or other proxies
to schedule the dancers or confirm how much dancers were owed or had
earned on a given night.
c. There were multiple deleted text messages that Detective Wacker was not

able to recover. Among them were messages exchanged with a number
saved in the phone as “Rad,” Buzdum’s nickname

d. The phones contained several photographs of'females some of whom
appeared to possibly be minors dressed in attire meant for stripping Based
on the context, it appeared likely that these females were dancers at TNT.

173. On June 28, 2018, the Honorable Judge Nancy loseph issued a federal search
warrant for Miller’s phones 1 have reviewed the digital forensic reports that resulted from the
q searches 1n the results from the examination of Miller’s iPhone 8, 1 found numerous contacts that
began with “TNT.” 1 also recognized contact information for Victim 2, as well as a single, shared
contact entry for both Victim 1 and Jennifer Campbell. There were many other “TNT” contacts
including four saved as “TNT COCA1NE.” Chris Childs was also saved as a contact

174. 1 also noted some texts that appeared to be from a bartender at the Dew Drop 1nn

that included nightly figures for sales at the Dew Drop. There was also a message from Miller to
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Buzdum and Paul Dorsey informing them that the drawer at the Dew Drop 1nn was short one night

and that Miller was unable to determine the cause of the discrepancy

175 . Additionally, 1 found an exchange concerning dancer scheduling that took place on

September 14, 2016 with a contact saved as “TNT C1ARA NEW.” Based on the names used and

the context of the conversation, 1 believe Spider and Ciara to be the pimp and “bottom” duo whom

loseph 1 enrich described

Miller:
Ciara: v
Miller:
Ciara:

Miller:

Yo bring those 2 girls plus white girl today right

Me ND shi today `. l\/ly other girl had something to do today
K ty n

running late

Hurry plz got 2 girls here

Two days later, on September 16, 2016, they exchanged the following messages

Miller:

Ciara:

Miller:

Ciara:

Ciara:

Ciara:

Miller:

Yo got any xtra bitchs to bring wit u LOL

Lol not right now

lust b in time ty baby n tell spider l say what up n ty
Spider said don’t worry

l will be on time

Put me down all week Spider said

Ty

T. Information from Post-Arrest Search of Childs’ Phone

176. Following his arrest on l\/larch 29, 2018, the FBl downloaded the content of Childs’

cell phone Among the contacts saved in Childs’ phone were entries for:

a. [cw-i]

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b. Sixx
c. Tim ( Roadhouse ) with a phone number of 920-253-6391

177. 1 also found several text message conversations that concerned TNT. One such
conversation took place on December 26, 2017 between Childs and a contact saved as “Williams
_deetrah idgt.” From the context of their conversation it appears Williams is a former TNT dancer
who, at the time of their conversation had gotten sober and had just completed a nursing degree
1n relevant part, they wrote:

Williams: U been to the club lately

Childs: t Tnt??

Williams: Yea

Childs: Nope,j ake bitch ass kicked me out

Childs: Cuz 1 was fuckin his wife
Williams: “when he come back

Williams: Who’s who’s wife

Childs: They fired Tim and now jake runs it
Childs: [Victim 2]

Williams: Watttt

Williams: Tim ain’t the manger no more
Childs; Nope

Williams: Who the fuk is [Victim 2]

Childs: And he moved out

Williams: Wattt

Williams: Omg yea i been a longgg time

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Williams: Whose the manger now

Williams: Does wat the fuk dude name fukkk 1 can’t think rite now rad that’s it does

 

he still own the club
Childs: [photograph]
Childs: That’s [Victim 2].
Childs: And jake runs it now
Williams: Oh wow

Williams: Watttt

Childs: And rad still owns it

Williams: How’s fuk1 can’t think of names
Williams: ' Lil buddy
Childs: Who??

Williams: Yo right hand guy

Childs: Ball
Williams: Yasssss
Williams: Omg 1 miss him

wrrrrams:
Childs: That nigga good
178. Additionally, 1 found the following text conversation from September 19, 2017

between Childs and Miller:

Miller: 7 Yo what's up bro l need to talk to you when you available

Childs: Where you at??

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Miller:
Childs:
Miller:
Childs:
Miller:
Childs:
Miller:
childs
Miller:
Childs:
Childs:
Miller:
Childs:
Childs:
Miller:

Miller:

Miller:
'Childs:
Miller:
Childs:
Miller:

childs

 

I’m living at club still but yep allBS

You still down stairs??

YES BUT NOT FOR LONG WRU N WYD
At hardware playing poker

Who bartender tonight

Bill

ldk abt him what u think he say 1 come up there
Want me to find out??

1 need to talk to him n Mike some time too

1 can meet you over there after poker

Or tomorrow at dew drop

No not here or dew

Ok

Silk ??

There why bill has issue with me

ldk why 1 talk to Mike when ever we see each other just mutual respect
same Damm business 1011 got no issues with anyone or anything

WTF happened to u

What you mean

U ask bill lol

Yeah,he said he had to talk to Mike first

Ok can you ask mike to call me tonight tomorrow plz

1 just texted him

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179. 1 also identified numerous text conversations from late 2015 through early 2018
between Childs and Paul Dorsey, Dawn’s brother. From the tenor and content of these
conversations it appears that Childs and Dorsey are friends and play in a weekly poker game
to gether. They frequently joke with one another and talk about happenings at TNT. Some of their

discussions include:

a. Childs asks Dorsey to talk to Tim for him about a camera system he has for
sale and about scheduling a dancer named Champagne.

b. Dorsey complains that Maroo is trying to drive him out of TNT. Childs
suggests that Dorsey convince all the dancers to quit so that Maroo will be
driven out instead

c. Dorsey asks Childs about a customer he thinks is a regular of Campbell’s.
Childs replied that the customer used to be a regular of Victim 1’s and used
to spend good money, but he was exhibiting stalking type behavior toward
Victim 1. Childs says he made Victim 1 get a restraining order against the
customer `He says he saw the customer at the Hardware Store and that the
customer could not look Childs in the eye

U. Overview of LaW Enforcement Contacts With TNT

180. During the course of my investigation into Childs TNT, and the Hardware Store,
law enforcement responded to TNT for two incidents that 1 learned about. The first was a sexual
` assault. On August 1, 2017, the Portage Police Department responded to the home of a 20~year-
old female who had cut her wrists and was expressing suicide ideations. Officers asked the young
woman why she had cut herself She explained that she was a dancer at TNT and had been working
during the overnight hours between July 28 and luly 29, 2017. She stated that she was highly
intoxicated and agreed to have sex with a customer in a back room at TNT. After the customer
penetrated her vaginally, she told him that she did not want to continue The customer replied that

it was “already happening” and continued having sex with her. The victim tried waving her hand

under the door to attract attention, but no one noticed her. She then tried pushing the customer off,

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but he _held her down by her wrists until he finished, ejaculating on her chest. The responding

officers noted and documented bruises to the inside of the victim’s thighs which she indicated

` were from the incident

181. During the sexual assault victim’s interview, she denied engaging in prostitution at
TNT during this incident or otherwise however she stated that prostitution commonly took place
in the champagne rooms there According to the victim, Tim Miller and the other staff of TNT
knew that prostitution was taking place inside the club, and this was the reason there are no cameras
in the champagne rooms The victim also stated that she had seen Miller giving dancers condoms
in the back of the club near the vending machines She recalled a specific instance in which, as
she was headed back to a champagne room with a client, she saw Miller hand the client a condom.
The victim explained that TNT keeps half of all champagne room fees paid

182. When the sexual assault suspect was interviewed he stated that the victim had
asked him if he wanted to go into a champagne room with her and indicated to him that there were
no cameras He admitted to paying $200 for the use of the champagne room for 30 minutes and
to having sex with the victim, but he claimed that the sex was not an act of prostitution and was
consensuall

183. The second incident was a shooting that took place in the early morning hours on
August 2, 2017. When l)odge County Sheriff’ s Office deputies arrived on scene, they found Tim
Miller outside with a flashlight Miller told the deputies "‘There was these black guys in here and
these guys claim they got shot.” Miller added that the males told him they needed an ambulance
but ended up leaving in an Audi and a Durango. The two victims were later identified at a hospital

in l\/ladison The area was canvased and law enforcement recovered brass firearm casings

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suspected blood, two cell phones a path of trampled grass and an uprooted fencepost with barbed
wire attached to it on the south side of the TNT property and in the field behind it.

V. Online Reviews of TNT

184. As part of this investigation, case agents researched online reviews of TNT.
Reviews on a website called USASexGuide.com, which offers reviews of locations where
prostitution is available and descriptions of individual sexual encounters suggested that exchanges
of sex for money are widespread and accepted at TNT.

185. Two frequent posters regarding TNT as of late 2016 and early 2017 were
“Eagle19” and “DaveDream.” On January 8, 2017, Eagle19 wrote,

Went to TNT tonite Saturday January 7th, Ol\/lG what a fand line up, as usual AA
WOl\/IEN a little aggressive, but yo ujust tell them you came there to c someone
else & they'll back off. But what a great line~up, 2 stars in Luna whitec& hispanic
very sexual hot spinner, great personality, very spun KY with pierced nipples &
clit. She cuts hair during the day, dances on saturdays her fantasy is to give a man
a hair cut & teasing him during the hair cut, then wen done she wants to strip naked
& have wild ruff sexfor more info pm Me. About 5 other pretty hot white girls
some taller some shorter but very nice, 1 love petite spinners, my favorite was also
there but sorry 1'11 keep that one to myself nice warm fat kitty on this little spinner,
amazing heat coming out of thatvmuffin, she's the one 1 spent most of the night,
probably the best one there, no tats very sexy, petite young hot spinner, great
conversation all around great girl. TNT definitely the place to go on Fri & sat. On
a side note everything goes you just have to find out which one does what you
want, because not all does all, but not hard to an amazing HE. Good luck out there
boys & plan a trip out there

DaveDream posted the following reply to Eaglel 9 on January 9, 2017:

1 went to TNT on Friday` night and have been there over a dozen times the last 5 -6
months 1've talked to the owner and most of the bouncers 1 also know most of
the girls and they know who 1 am. Your post sounds like a different club. Or made
up bs. On the weekends around 11:30 p~midnight, mostly AA men come in and
take over the far end of the club. They buy bottles of liquor and ask for sinlges as
the give the bartender a 100 bill. (Make it rain) ThE ladies love it! 1 usually leave
at this time Yes, everything goes there but 15 min in the back will set you back
150 plus a tipe the the guy who watches the camera and a 40 tip to the girl before
the action starts 30 min is 200 + tips Wayyy overpriced for what you get...

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Eagle19 responded to DaveDream the same day, writing,
1 was there Saturday,8 til about 11:30,if stayed on the floor because your right after
you go in back you can get over 300.00 real quick 1 agree, 1 totally stayed on the
floor & had kitty heaven. 1 played with this little blond, on the floor tipping her, she
had no problem with me moderately playing with the kitty, very warm & moist..."
"l'm long gone by bar time, so if it gets that AA late 1 wouldn't kno, maybe their .:
the dealers pimps or bfs. Good luck hope this helps & enjoy.

DaveDream replied again:

Give us a name? Nova? Lucky? (always drinks too much that she gets guys to

buy for her) Probably the best set of legs and ass are on Sixx. She’s worth the trip

out there in itself. She hardly gets up on the stage because she has her regulars but

when she does she can work the stripper pole 1'm saving my money to take her in

the back to get a BJ and tap that doggy style My birthday present to myself

Besides Eagle19’s comments about about the dancers " dealers pimps or boyfriends other
posts suggested that TNT’s clientele were aware that some of the dancers worked for pimps On
l\/larch 31, 2018, a user named BigTen posted a link to an article about Childs’ arrest for Human
Trafficking that discussed his relationship with TNT and the Hardware Store. A user named
Midwt2006 replied, “l’ve known about this guy for a while Not surprised he was busted.”

W. Letter from PropertyOWner Near TNT

186. 1 reviewed a letter received by the U.S. Attorney’s foice in May 2018 and written
by a homeowner Whose property is very near TNT. The homeowner wrote to complain that the
area had been going downhill since.the strip club opened and to urge law enforcement action
against TNT.

j 187. The writer described concerning activities taking place at and around TNT that the

writer had observed, overheard, or heard about from other neighbors including drug deals in

TNT’s parking lot or areas off~camera down the street, shoot-outs racing cars and a drug overdose

death. The writer explained that this affected all of the neighbors in varying ways The writer

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stated that one neighbor was in the military and frequently away. While he was gone, customers
from TNT would walk through his yard, and he would find used condoms on his lawn when he
returned Another neighbor had a very difficult time selling her home and was eventually forced
to sell to a registered sex offender for $40,000 under asking, prompting an inquiry from the County.

188. The writer had noticed over time that many of TNT’s dancers were dropped off by
men driving expensive cars such as Mercedes BMWS, Cadillac SUVs and Lexus. The writer
had also seen dancers accepting money from customers outside of TNT in the parking lot.

X. Radomir Buzdum’s and Tequila Nights, Inc.’s Tax Returns

189. Pursuant to.an ex parte order, case agents have obtained Buzdum’s personal tax
returns as well as the tax returns for Tequila Nights, lnc. (the corporation behind TNT and the
Dew Drop 1nn) for 2013 through 2016. Case agents have compared these returns with the ledgers
of TNT’s income kept by Tim Miller and CW-l. According to these ledgers Buzdum
underreported his gross receipts for Tequila Nights 1nc. by a minimum of $261,520 for tax periods
2014 and 2015..

190. Since the ledgers only contained partial data for tax years 2013 and 2016, it is
unclear exactly how much Buzdum underreported for those years Based on projected annual
gross receipts alone, which case agents have calculated by taking the weekly average for what was
recorded, Buzdum underreported his income from TNT by a total of roughly $80,517 in those two
years

191. Furthermore, the numbers in the TNT ledgers do not account for any gross receipts
for the D_ew Drop Inn, so any profits from the Dew Drop 1nn in any of those years would constitute

additional unreported income The ledgers (and, by extension, Buzdum’s tax returns) also do not

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account for profits from any of the video gambling machines at TNT or the Dew Drop 1nn, cover
charges from TNT, or the house fees paid nightly by TNT’s dancers l

192. An additional analysis was done comparing Tequila Nights Inc.’s Form 1120
filings with financial records obtained from banks where Buzdum and Tequila Nights 1nc.
maintain accounts This showed a discrepancy of $873,1 85 from 2013 through 2016 between what
Buzdum reported on his tax returns and what he deposited into his bank accounts

Y. Information from Recorded Conversation With Radomir Buzdum

193. 1 am aware that in late 2015 and early 2016, a Confidential Human Source (“CHS”)
working under the direction and control of the FBl made recordings directly with Buzdum. The
CHS recently completed his/her cooperation in several unrelated matters and now is available as
a witness against Buzdum.

194. n 1 believe CHS to be reliable and credible for several reasons First, CHS
consistently has provided information to the FBl`for over three years Second, CHS has been
under federal indictment and cooperating for sentencing consideration Third, the information
CHS has provided is substantially against CHS’s own financial interest Fourth, law enforcement
has corroborated the information provided by CHS through consensually recorded conversations
and other investigative activity.

195. During a recorded conversation with CHS, ‘Buzdum spoke about his frustration over
the amount he owes each year in taxes Buzdum stated that he hated owing the government
$200,000 every year and that he no longer had business losses to offset that amount Buzdum said
his “little strip club in Lebanon” (TNT) currently was making between $11,000 and $13,000 a

week, but that he reserved some of the cash that came in for himself and his manager.

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196. Buzdum also spoke about his own activities at TNT. He indicated that he would
sometimes drink too much and not remember things he said to people Because of this Buzdum
explained that TNT’s manager looks out for Buzdum with “the broads.” For example, the manager
might tell Buzdum in the morning that the manager had given a dancer 8150 or “whatever he had
to do” in order to keep Buzdum out of trouble 1n reference to dancers Buzdum stated that “they
are all fucking whores now,” meeting clients outside of the club for sex. He marveled that Mike
Siegel and the Hardware Store were making $150_-175 per sex act performed by the dancers and
that they had an unbelievable number of “tricks” out in the middle of nowhere

197. Buzdum further explained during the recorded conversation that he avoided the
risk of being caught facilitating acts of prostitution by making sure that there were no cameras and
getting the “right kind” of manager. Buzdum further explained that strip club owners could avoid
undercover sting operations by instructing the dancers to grab customers’ crotches as soon as they
go into the back rooms Buzdum stated that if a customer allows a dancer to grab his crotch without
objection he must not be a law enforcement officer because law enforcement cannot participate
in sex acts

198. During the recorded conversation Buzdum stated that come to TNT from both
Lebanon and Milwaukee and, just like in Las Vegas‘ anything goes in the back rooms Buzdum
expressed his belief that the dancers at TNT were all having sex in the back rooms now because
they wanted money to buy heroin l

Z. Information from Recordings of Conversations Between Buzdum and Undercover
Agents

199. Following Childs’ arrest and thenegative publicity for TNT that accompanied it,

Buzdum sought to divest himself of what he viewed as a financial liability and listed TNT/the Wild

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Rose for sale The lRS put together an operation wherein an undercover agent presented himself
as a potential buyer and met with Buzdum to discuss the club’s business model and fmances.

200. The first meeting between Buzdum and the undercover agent took place on October
30, 2018. Buzdum arrived at TNT to meet the undercover agent in his Toyota Sienna minivan.
As the conversation got started the undercover asked what kind of fees the club earned from the
dancers Buzdum stated that dancers had to pay a nightly fee to work there He also explained
that TNT gets half of everything the dancers bring in with the exception of their tips F or example,
TNT takes half of the fee for the use of a private room. According to Buzdum, private room fees
are the biggest moneymaker for a strip club. Buzdum bragged that dancers come from as far away
as Chicago because they can earn good money at TNT. 7

201. When the undercover asked about TNT’s financial health, Buzdum repeatedly
stated that the club could make a lot more money than it currently does with “the right kind of
manager.” Buzdum larnented that TNT used to do four times the business that it does now but that
the manager at that time _was “a little dirty,” sold drugs and “stole too much.”

202. During the course of their conversation the agent asked Buzdum if his desire to
sell was motivated by the negative press he had seen concerning TNT. Buzdum responded that
the press had to do with a “black son of a bitch” whom he did not know at all, who “had some
white ladies” Buzdum opined that this had nothing to do with human trafficking but instead was
just a guy with “a couple of whores” whom he told, “Go make me money, bitches cause l’m too
lazy to work.” According to Buzdum, this was the only problem that TNT had ever had. Buzdum
claimed that none of TNT’s neighbors have ever complained about TNT because there is nothing

to complain about.

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203. Buzdum proceeded to offer several more gratuitous comments about prostitution at
TNT. He stated that there are 16 cameras set up around the club and that he routinely watches the
feed from home. He said there also used to be camera monitors in the basement apartment when
the former manager lived there. Buzdum stated that the cameras were there to ensure that no
prostitution is taking place at TNT. Buzdum also stated that the only rule at TNT is “no seX.” He
said that TNT plays every kind of music except for rap, because too much rap music is about
“hoes,” and it is degrading Buzdum continually emphasized keeping control over the club, not
allowing pimps in, kicking “that garbage” out, understanding “everything is cameras,” and “no
seX; just remember that, always”

204. Buzdum told the undercover agent that it was strange to him that four months after
Childs was arrested, “the other club” (the Hardware Store) was “popped with some black girl doing
a 64-year-old guy in a room.” What Buzdum could not understand was why the dancer would
admit to receiving $lOO in exchange for the SeX act. According to Buzdum, the dancer could have
insisted that they were just having some fun, and then it would not have mattered.

205 . During the tour of the property, Buzdum showed the undercover agent the basement
living space. He remarked that everything stays upstairs because they “don’t want the cops
downstairs.”

206. The undercover agent asked Buzdum about TNT’s monthly profits Buzdum
claimed that it was hard for him to know because he was not intimately involved in the club’S
business Buzdum stated that he was an absentee operator. He claimed that he has not been inside
TNT during its operating hours in over three years At another point, Buzdum said he had been

out of the day-to ~day operations of the business for ten to fifteen years Buzdum stated that all he

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did was pick up the club’s money, pay taxes on it, then put the rest straight in the bank to pay bills
from it.

207. The undercover agent asked Buzdum about payroll. Buzdum said that his current
manager is on the payroll so that he “qualifies for disability,” which Buzdum said is very important
Buzdum explained that if employees are not on payroll, the State has a lawyer who will come after
you. Buzdum stated that the agent cannot cheat the system or screw around He summarized by
stating, “If you’re gonna do this, do shit by the book.”

208. The undercover asked Buzdum to see some of TNT’s financial records on a future
visit. Buzdum said that it would only be possible to see combined records for TNT and the Dew
Drop lnn because he keeps them together. When the undercover specifically asked to see records
from when the dancers “go in the back,’i Buzdum refused, ~saying, “I don’t care about that. lt
doesn’t matter.” Buzdum Stated, however, that he still has c‘everything,” such as TNT’s register
receipts

209. Later, the undercover arranged to meet the current manager, lacob Maroo, and to
sit down with Buzdum to talk more specifically about TNT’s finances The undercover and a
second agent returned to TNT on December 12; 2018, and met with Maroo. l\/laroo discussed the
club’s revenues and his ideas for how it could be run more'proiitably. Maroo stated that TNT
“used to rock pretty good” but that they had been having problems getting dancers and customers
to come consistently lately. Maroo stated people were afraid to come to the club because of “all
the stuff that’s been going on.”

210. The undercover agents asked Maroo about how much business the club was doing
in cash versus by credit card. Maroo said it goes back and forth, but the club does a lot of its

business in cash According to Maroo, he tries to run a cash bar to keep things simple. Maroo .

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said the credit card machines were slow and slowed down business Maroo explained that
customers could pay for champagne rooms by credit card but that he altered the amount charged
so as not to raise the credit card companies’ suspicions that the club was letting customers use their
cards to get cash advances For example, if a champagne room were booked for $2()0, TNT
charged a markup of 10% for a total of $220. Maroo would run the customer’s card, however, for
$199.95 so that it appeared to be a sale. Maroo stated that whole numbers looked more suspicious

_ 211. Maroo explained the fees for lap dances and champagne rooms ln an-attempt to
get more business in the lap dance room, Maroo recently lowered the cost of lap dances to $2(),
split between the dancer and the club. Maroo stated that champagne rooms still cost $200 for 30
minutes and include two drinks The champagne room fees are'also divided evenly between
dancers and the club. Maroo said that the club used to offer a less expensive “mini” champagne
room of only 15 minutes, but it was not a popular option. Now it is only used if a customer is
trying hard to haggle with the champagne room price.

212. During a tour of the club, Maroo showed the undercovers the office and the
monitors for the club’s cameras Maroo stated that cameras had recently been added to the
champagne rooms and that this had caused a dip in champagne room sales Maroo stated that in
order to adequately monitor what was going on in the champagne rooms, however, a better quality
camera system would be needed. According to Maroo, the views of the current cameras are blurry.
He stated that sometimes it appears that something “questionable” might be going on inside a
champagne room, but he does not want to interrupt unless he knows for certain.

213. The undercovers asked-Maroo about house fees charged to dancers Maroo stated
that he likes to be flexible with the fees in order to encourage dancers (and thus customers) to

come. Usually, the fee is $10 if the dancer is on time and $5 for every 30 minutes late thereafter

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Maroo estimated that the club made about $100 per night during the week and up to $3 00 per night
on the weekend in house fees

214. The undercovers inquired about the club’s relationship with its neighbors and with
law enforcement Maroo stated that there would always be people who “talk crap” but that he
believed the club was well-regarded by its neighbors He stated that he brings the neighbors on
one side a case of beer from time to time, and the people who live on the other side were close
with Miller. Maroo stated that the house across the street is typically “abandoned” because the
owner is a soldier, but they try to help out by mowing the grass for him from time to time while
he is away. l\/Iaroo stated that the town and law enforcement have been great and do not put much
stock in the few complaints they get about the club.

215. Case agents later learned that Buzdum was monitoring the meeting on his phone
via the camera system. During the meeting, he sent text messages to CHS, asking if CHS thought
the undercover looked suspicious The CHS provided the texts to the FBI.

216. On December 13, 2018, the undercover met with Buzdum in his basement office at
the Dew Drop 1nn. Buzdum stated that he keeps all of his records and receipts from TNT in the
large gun safe there. During the course of the conversation,- Buzdum produced records for 2018
from the safe and compared profits from before Childs’ arrest with profits immediately afterwards
The undercovers also saw small tapes inside the safe that Buzdum said were register tapes for the
bar till. Buzdum stated that although he combines money from both TNT and the Dew Drop 1nn
into one bank account under Tequila Nights, Inc., he still keeps separate records and receipts for
both.

217. Buzdum repeatedly emphasized that he is an absentee owner and never comes to

the club or gets involved in day-to-day business He also stated many times how important it was

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to run a clean establishment, make sure all of the employees are on payroll, and do things by the
book. Buzdum admitted, however, that he currently skims $4,000 per month from TNT, which
consists of cash from the video gambling machines and house fees that the dancers pay to work.

V. ` CONCLUSION
218. Based on the information set forth above, l respectfully submit that this affidavit

establishes probable cause for the issuance of the requested warrants

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Attachment A
Premises to Be Searched

A cellular phone used by Radomir Buzdum and associated with telephone number (920)
248-3360.

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Attachment B

(Cellular Phone Used by Radomir Buzdum and Associated With '_I`elephone Number 920-248-3360)

Evidence to Be Seized

All evidence, instrumentalities information, records and contraband relating to violations
ofTitle 18, United States Code, Sections 1591 (sex trafficking); 1594 (conspiracy to engage in sex
trafficking); 1952 (use of a facility in interstate commerce to promote, manage, or carry on
unlawful prostitution activity); 1956 (money laundering); and 922(g)(3) (possession of firearms
by an unlawful drug user); and Title 26, United States Code, Sections 7201 (tax evasion), 7202
(willful failure to account for or pay t_ax), 7206(1) (tax fraud and false statements), and 7206(2)
(assisting preparation of false or fraudulent tax documents), for the period of January 1, 2012
through the present, including:

1.

All electronic communications including text messages instant messages emails
notes and other forms of written messages concerning the operations of the TNT
Gentleman’s Club/the Wild Rose Gentleman’s Club, the Dew Drop Inn, and/or
Tequila Nights lnc., including revenues expenses personnel, scheduling, work
rules employee or customer behavior,, advertising, sexual activities being solicited,
arranged or performed between Buzdum and any TNT dancers and other club-
related business or activities whether legal or illegal;

All electronic communications including text messages instant messages emails
notes and other forms of written messages concerning collusion between Buzdum
and others regarding the concealment of cash or other assets;

All recordings or still photos including any surveillance footage or related data or
information, of or from TNT, the Dew Drop lnn, or N9661 Boje Court, Watertown,
Wisconsin that was received, viewed, and/or stored on the phones;

All call logs;

Contact lists to assist with the interpretation of the communications documented
and/ or stored within the phones and identify‘the participants

All bank records checks`credit card bills account information and other financial
records whether personal or business~related; and

Evidence of user attribution, showing who used or owned the devices at the time
the things described in this warrant were created, edited, or deleted, such as logs
phonebooks saved usernames and passwords, notes documents and lntemet
browsing history.

As used above, the terms “records” and “information” include all of the foregoing items of
evidence in whatever form and by whatever means they may have been created or stored, including

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any form of computer or electronic storage (such as flash memory or other media that can store
data) and any photographic form.

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